IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: November 17, 2017.

                                                           ________________________________________
                                                                      CRAIG A. GARGOTTA
                                                              UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________


                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

IN RE                                            X
                                                 X            CASE NO. 16-52554-CAG
RANDY BENAVIDES BALDERAS                         X
                                                 X
        DEBTOR                                   X            CHAPTER 11

                ORDER GRANTING SECOND AND FINAL APPLICATION OF
                     LANGLEY& BANACK,INC.FOR ALLOWANCE
                OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
                   FROM MARCH 27,2017 THROUGH OCTOBER 12,2017


        On this day, came on to be heard the Second and Final Application for Allowance of

Compensation and Reimbursement of Expenses filed with the Court by Langley & Banack,Inc., in its

capacity as Attorneys for Randy Benavides Balderas, and it appearing to the Court that Applicant filed

with the Court on October 18, 2017 its Second and Final Application for Allowance of Compensation

and Reimbursement of Expenses which included exhibits reciting the number of hours worked by the




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attorneys and paraprofessionals and containing a description of how the time was expended by the

attorneys and paraprofessionals and it appearing that due notice of such Second and Final Application

has been transmitted by William R. Davis, Jr. to the appropriate parties in interest and creditors in the

Debtor's Chapter 11 case, and in determining the amount of attorney's fees and reimbursement of

expenses to be awarded, the Court has considered the following factors:



        1.       The time and labor required;
        2.       The novelty and difficulty ofthe questions;
        3.       The skill requisite to perform the legal services properly;
        4.       The preclusion of other employment by the attorneys due to acceptance ofthe case;
        5.       Customary fees;
        6.       Whether the fee is fixed or contingent;
        7.       Time limitations imposed by the client or other circumstances;
        8.       The amount of time involved and the result obtained;
        9.       The experience, reputation and ability of the attorneys;
        10.      The "undesirability" ofthe case;
        11.      The nature and length of the professional relationship with the client; and
        12.      Awards in similar cases.



and the Court further finding that the services detailed by the Attorneys in its Second and Final

Application were performed by them and that the performance ofsuch services has benefitted the estate

and the creditors ofthe Debtor and that the expenses detailed by the Attorneys in its Second and Final

Application were reasonable, necessary and actually incurred by them, it is accordingly




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          ORDERED,ADJUDGED and DECREED:



          That Langley & Banack,Inc. is hereby awarded Second and Final allowance ofcompensation in

 the amount of $81,715.10, representing $80,257.50 in professional and paraprofessional fees and

 $1,457.60 in expenses for the period of March 27, 2017 through October 12, 2017 — this represents a

 voluntary reduction in the Application in the amount of $3,250.00; it is further



         That the above stated amounts awarded to Langley & Banack, Inc. should be paid using the

 retainer/post-petition deposits paid by Debtor to Applicant, with any additional amounts due being paid

 by the Debtor/Debtor's Estate; and it is further



         That all fees and expenses authorized herein ($81,715.10), as well as the fees and expenses in

 the total amount of $36,288.47 allowed in the First Interim Fee Application, are allowed as final

 compensation and subject to no further review.




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 Submitted by:

 William R. Davis, Jr.
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 San Antonio, TX 78212
(210)736-6600




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